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U.S. Department of Justice

Timothy J. Shea
United States Attorney

 

District of Columbia

 

Judiciary Center
555 Fourth St., NW.
Washington, D.C. 20530

BY HAND DELIVERY

March 4, 2020

Danielle C. Jahn, Esq.

Assistant Federal Public Defender
Federal Public Defender’s Office
District of Columbia

625 Indiana Ave NW
Washington, DC 20004

Re: United States v. Jacob Kyle Jordan, 20-cr-55 (TFH)
Initial Discovery Production

Dear Ms. Jahn:

As you are aware, your client, Jacob Jordan, is under indictment in the United States
District Court for the District of Columbia. Pursuant to your oral request for discovery, the
United States hereby provides the following and requests reciprocal discovery.

I. Defendant’s Statements — Federal Rule of Criminal Procedure 16(a)(1)(A)-(C)

The United States is unaware of any statements by your client, other than those described
below (if any).

Il, Defendant’s Prior Criminal Record — Federal Rule of Criminal Procedure 16(a)(1)(D)

The United States is aware that your client has prior criminal convictions for driving
under the influence. The United States is not aware of any other criminal record for your client.

 
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Ill. Documents and Tangible Objects — Federal Rule of Criminal Procedure 16(a)(1)(E) ©

The United States has provided you, via hand delivery, one compact disc containing the
following evidence in electronic format:

Arrest Warrant — BATES 1.

USMS Intake Form — BATES 2-3.
Arrest Packet - BATES 4-22.
Criminal Complaint — BATES 23-24.
Gerstein - BATES 25-26.

Indictment — BATES 27-29.

DIMS Photos — BATES 30-41.

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Additionally, the United States has provided you, via hand delivery, four compact discs
containing the Body Worn Camera (BWC) footage related to your client. Pursuant to our
agreement, the BWC footage has been provided to you pursuant to the terms of our stipulated
Protective Order which I will file with the Court this morning.

Finally, the United States is in possession of certain physical evidence which cannot be
disclosed, but which may be inspected by you. If you would like to schedule a time to inspect
any such evidence, please let me know.

IV. Reports of Examinations and Tests — Federal Rule of Criminal Procedure 16(a)(1)(F)

The United States is not currently in possession of any reports of examinations or tests in
this matter, other than those described above (if any). —

V. Expert Witnesses — Federal Rule of Criminal Procedure 16(a)(1)(G)

The United States has not yet identified the need to retain any expert witnesses. If this
case proceeds to trial, the United States will provide timely notice of any expert witnesses that it
intends to call during its case-in-chief.

VI. Brady/Giglio Materials

The United States has provided discovery of all exculpatory and impeaching material
under Brady/Giglio. The United States is unaware of any Brady/Giglio material other than what
has already been produced, but will provide timely disclosure if any such material comes to light.

VII. Witness Statements

At this time, the United States is not aware of any statements by civilian witnesses other
than those provided, if any.

 
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VII. Continuing Obligations

The United States is aware of its continuing obligations pursuant to Federal Rule of
Criminal Procedure 16(c) and will forward any supplemental discovery to you as soon as it
becomes available to the United States.

IX. Request for Reciprocal Discovery

The United States hereby requests reciprocal discovery under Federal Rule of Criminal
Procedure 16(b). Specifically, we request that you allow inspection and copying of: (1) any
books, papers, documents, data, photographs, tangible objects, buildings or places, or copies or
portions of any of these items that are in your possession, custody, or control and which the
defense intends to use in its case-in-chief at trial; and (2) any results or reports of any physical or~
mental examination and of any scientific test or experiment that is in your possession or control
and which the defense intends to use in its case-in-chief at trial or which was prepared by a
witness whom you intends to call at trial. We further request that you disclose a written summary
of testimony you intend to use under Federal Rules of Evidence 702, 703 or 705 as evidence at
trial.

Pursuant to Fed. R. Crim. P. 26.2, the Government also requests that you disclose prior
statements of witnesses Defendant will call to testify.

X. Acceptance of Responsibility

If your client wishes to accept responsibility and negotiate a plea agreement in this case,
please contact me at your earliest convenience. Should your client be separately willing to
participate in a proffer regarding the facts of his case, please contact me so that I can arrange a
meeting. Any such meeting would be conducted pursuant to standard proffer protection.

Please understand that, should you elect to file substantive motions in this matter, the
United States will oppose the one-level Guidelines reduction pursuant to USSG § 3E1.1(b), and
may elect to discontinue plea negotiations altogether.

Sincerely yours,

TIMOTHY J. SHEA
UNIT. ES ATTORNEY

BY:

 

James B. Nelson
Assistant United States Attorney

 
